4:15-cr-03010-JMG-CRZ          Doc # 44   Filed: 04/07/15   Page 1 of 1 - Page ID # 154




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                     Plaintiffs,                              4:15CR3010
      vs.
                                                                 ORDER
MARISELA PESCADOR,
                     Defendant.


      Defendant has moved to modify the no contact provision of her conditions of
release, (filing no. 43), to permit contact with her husband, the co-defendant. The motion
is unopposed. Based on the showing set forth in the motion, the court finds the motion
should be granted. Accordingly,



      IT IS ORDERED:

      1)     Defendant’s motion to modify condition of release, (filing no. 43), is
             granted.



      2      Pending trial, the defendant shall comply with all terms and conditions of
             release which were previously imposed, with the following modification:
             The defendant is allowed to have contact with Co-defendant, Sergio
             Valencia, Sr., but they shall not talk or otherwise communicate about this
             case.

      April 7, 2015.
                                                BY THE COURT:
                                                s/ Cheryl R. Zwart
                                                United States Magistrate Judge
